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   6
       Attorneys for Plaintiff
                                         EXHIBIT A
   7                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
   8
       SOCIAL POSITIONING INPUT           §
   9   SYSTEMS, LLC,                      §                 Case No: 8:24-cv-844
                                          §
  10        Plaintiff,                    §                 PATENT CASE
                                          §
  11   vs.                                §                 JURY TRIAL DEMANDED
                                          §
  12   SOS CO., INC. D/B/A/ DOGTRA CO. §
                                          §
  13        Defendants.                   §
       __________________________________ §
  14

  15                   PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE
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              In response to the Court’s order to show cause, Plaintiff writes to inform that Court that the
  17
       parties have resolved their dispute and the result is Plaintiff filing a voluntary dismissal with
  18
       prejudice.
  19

  20

  21   Dated: June 27, 2024                        Respectfully filed and served,
  22
                                                   GARTEISER HONEA, PLLC

  23                                               /s/ Randall Garteiser
                                                   Randall Garteiser
  24                                               CA State Bar No. 231821
                                                   rgarteiser@ghiplaw.com
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                                                   Christopher A. Honea
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Case 8:24-cv-00844-JWH-KES Document 17 Filed 06/27/24 Page 2 of 2 Page ID #:84



                                                    Telephone: (903) 705-7420
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   2                                                Attorneys for Plaintiff

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   4                                 CERTIFICATE OF CONFERENCE
   5
             The undersigned attorney represents and confirms that a conference was conducted with
   6
       opposing counsel prior to filing this Motion, and counsel indicated it does not oppose the relief
   7
       requested herein.
   8
                                                                   /s/ Randall Garteiser
   9                                                               Randall Garteiser
  10

  11

  12                                    CERTIFICATE OF SERVICE

  13          The undersigned hereby certifies that a true and correct copy of the above document has been
  14   served to all counsel of record who are deemed to have consented to electronic service via the Court’s
  15
       CM/ECF system.
  16
                                                                   /s/ Randall Garteiser
  17                                                               Randall Garteiser

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